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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
                      v.                          ) Civil Action No. 1:04-cv-00798-PLF/GMH
                                                  )
                                                  )
ALL ASSETS HELD AT BANK JULIUS                    )
BAER & COMPANY, LTD., GUERNSEY                    )
BRANCH, ACCOUNT NUMBER 121128,                    )
IN THE NAME OF PAVLO                              )
LAZARENKO, LAST VALUED AT                         )
APPROXIMATELY $2 MILLION IN                       )
UNITED STATES DOLLARS, ET AL.,                    )
                                                  )
       Defendants.                            )

                                    ORDER TO SEAL

      On July 22, 2019, Claimant Pavel Lazarenko filed a motion for leave to file under seal
certain records. The motion is GRANTED.

      IT IS SO ORDERED.
                                                                         Digitally signed by G.
                                                                         Michael Harvey
                                                                         Date: 2019.07.24
__________________________                                               09:17:18 -04'00'
                                                          _____________________________
DATE                                                      Hon. G. Michael Harvey
